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Case: 4:99-md-01264-CDP Doc. #: 795 Filed: 02/01/13 Page: 2 of 7 PageID #: 2584
Case: 4:99-md-01264-CDP Doc. #: 795 Filed: 02/01/13 Page: 3 of 7 PageID #: 2585
Case: 4:99-md-01264-CDP Doc. #: 795 Filed: 02/01/13 Page: 4 of 7 PageID #: 2586
Case: 4:99-md-01264-CDP Doc. #: 795 Filed: 02/01/13 Page: 5 of 7 PageID #: 2587
Case: 4:99-md-01264-CDP Doc. #: 795 Filed: 02/01/13 Page: 6 of 7 PageID #: 2588
Case: 4:99-md-01264-CDP Doc. #: 795 Filed: 02/01/13 Page: 7 of 7 PageID #: 2589
